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$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                   IRUWKH
                                                      :HVWHUQ 'LVWULFW RI 9LUJLQLD
                                                   BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

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 %/$,5 7</(5 0$*,// $35,/ 081,= +$11$+
 3($5&( 0$5&86 0$57,1 -2+1 '2( -$1(
     '2(  -$1( '2(  DQG -$1( '2( 
                            Plaintiff(s)
                                 Y                                          &LYLO$FWLRQ1R FY1.0
      -$621 .(66/(5 5,&+$5' 63(1&(5
     &+5,6723+(5 &$17:(// -$0(6 $/(;
   ),(/'6 -5 9$1*8$5' $0(5,&$ $1'5(:
    $1*/,1 0221%$6( +2/',1*6 //& HW DO
                           Defendant(s)


                                                   6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) )UDWHUQDO 2UGHU RI WKH $OW.QLJKWV
                                           FR .\OH 6HDQ &KDSPDQ
                                            /\FHWW &LUFOH
                                           'DO\ &LW\ &$ 




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH 5REHUW 7 &DKLOO (VT &RROH\ //3
                                            )UHHGRP 'ULYH WK )ORRU
                                           5HVWRQ 9$ 
                                           7HO    (PDLO UFDKLOO#FRROH\FRP
                                           &R&RXQVHO IRU 3ODLQWLIIV


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                               CLERK OF COURT


'DWH     October 19, 2017
                                                                                         Signature of Clerk or Deputy Clerk
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$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R FY1.0

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
